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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                            )      CASE NO. 18-05991-dd
  IN RE:                                    )      CHAPTER 7
  GRETA LYNNE                               )
                         DEBTOR             )      NOTICE OF MOTION FOR RELIEF
                                            )      FROM AUTOMATIC STAY
                                            )      (11 U.S.C. § 362)


  TO: DEBTOR(S), TRUSTEE (if applicable) AND THOSE NAMED IN THE ATTACHED
  MOTION:

         PLEASE TAKE NOTICE THAT a hearing will be held on the attached Motion on:

           Date: March 6, 2019
           Time: 2:00 PM
           Place: 145 King Street, Room 225, Charleston, SC 29401

         Within 14 days after service of the attached Motion, the Notice of Motion, the
  Movant’s Certification of Facts (and a blank Certification of Facts for applicable to service on
  pro se parties only), any party objecting to the relief sought shall:
         1)      File with the Clerk a written objection to the 11 U.S.C. § 362 Motion;
         2)      File with the Clerk a Certification of Facts;
         3)      Serve on the Movant items 1 & 2 above at the address shown below; and
         4)      File a certificate of such with the Clerk.
         If you fail to comply with this procedure, you may be denied the opportunity to
  appear and be heard on this proceeding before the court.

  DATE OF SERVICE:                  January 31, 2019
  MOVANT:                           Ocwen Loan Servicing, LLC as servicer for Deutsche Bank
                                    National Trust Company as Trustee for Indymac Indx
                                    Mortgage Loan Trust 2006-AR19, Mortgage Pass-Through
                                    Certificates Series 2006-AR19
  ATTORNEY:                         /s/ Travis Menk
                                    Travis Menk, # 10686
                                    Brock and Scott, PLLC
  ATTORNEY’S ADDRESS:               8757 Red Oak Blvd., Suite 150
                                    Charlotte, NC 28217
                                    Phone: Ph: 704-369-0676
                                    scbkr@brockandscott.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

                                          )      CASE NO. 18-05991-dd
  IN RE:                                  )      CHAPTER 7
  GRETA LYNNE                             )
                        DEBTOR            )      MOTION FOR RELIEF
                                          )      FROM AUTOMATIC STAY
                                          )      (11 U.S.C. § 362)



                    MOTION FOR RELIEF FROM AUTOMATIC STAY

         COMES NOW Ocwen Loan Servicing, LLC as servicer for Deutsche Bank National
  Trust Company as Trustee for Indymac Indx Mortgage Loan Trust 2006-AR19, Mortgage
  Pass-Through Certificates Series 2006-AR19 (hereinafter “Movant”), a secured creditor in the
  above-captioned case, by and through counsel, Brock & Scott, PLLC, and moves this Court to
  enter an order granting its request for relief from the automatic stay imposed by 11 U.S.C. §
  362(a) on the following grounds:
         1.     That Ocwen Loan Servicing, LLC as servicer for Deutsche Bank National Trust
                Company as Trustee for Indymac Indx Mortgage Loan Trust 2006-AR19,
                Mortgage Pass-Through Certificates Series 2006-AR19 is a secured creditor of
                the Debtor(s) and thus a party in interest.
         2.     That the above-captioned Debtor(s) filed a petition seeking relief pursuant to
                Chapter 7 of the United States Bankruptcy Code in this District on or about
                November 28, 2018.
         3.     The Debtor holds title to the real property (hereinafter “Collateral”) described in
                that Mortgage recorded in the Beaufort County Register of Deeds in Book
                02378 at Page 2180 and recorded on May 24, 2006 (hereinafter “Mortgage”)
                with an address of 27 Majestic Lane, Okatie, South Carolina 29909. A copy of
                the Mortgage and Note are attached hereto and incorporated herein as Exhibit
                “A”.
         4.     Movant holds a Promissory Note secured by the Mortgage from the Debtor in
                the original principal amount of $360,000.00 and dated May 19, 2006
                (hereinafter “Note”).
         5.     Deutsche Bank National Trust Company as Trustee for Indymac Indx Mortgage
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              Loan Trust 2006-AR19, Mortgage Pass-Through Certificates Series 2006-AR19
              has the right to foreclose because: Deutsche Bank National Trust Company as
              Trustee for Indymac Indx Mortgage Loan Trust 2006-AR19, Mortgage Pass-
              Through Certificates Series 2006-AR19, is the original mortgagee or
              beneficiary or assignee of the security instrument for the referenced loan.
              Deutsche Bank National Trust Company as Trustee for Indymac Indx Mortgage
              Loan Trust 2006-AR19, Mortgage Pass-Through Certificates Series 2006-AR19
              directly or through an agent has possession of the promissory note and the
              promissory note is either made payable to Deutsche Bank National Trust
              Company as Trustee for Indymac Indx Mortgage Loan Trust 2006-AR19,
              Mortgage Pass-Through Certificates Series 2006-AR19 or has been duly
              endorsed.
        6.    The Debtor has scheduled the value of the Collateral at $182,600.00.
        7.    Upon information and belief, the approximate payoff due and owing to Movant
              as of January 28, 2019 is $340,922.36.
        8.    Upon information and belief, per the Debtor’s Schedules, Internal Revenue
              Service has a second lien mortgage on the property in the amount of
              $18,399.03.
        9.    As a result of the averments in paragraphs 6 through 8, no equity exists in the
              subject property.
        10.   The loan is presently in default and is due for the October 1, 2018 contractual
              payment.
        11.   As a result, Movant lacks adequate protection of its interest in the Collateral.
              By virtue of such lack of protection, good cause exists to lift the automatic stay
              imposed hereunder.      Otherwise, Movant will suffer irreparable harm with
              respect to Movant’s interest in the Collateral.
        12.   Movant agrees to waive any claim that may arise under 11 U.S.C. Section
              503(b) or Section 507(b) as a result of this Order. Movant further agrees that
              any funds realized from the foreclosure sale, in excess of all liens, costs, and
              expenses, will be paid to the Trustee.


              WHEREFORE, Movant respectfully requests the entry of an Order:
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               1.     That modifies the automatic stay provisions of 11 U.S.C. § 362 and that
                      allows Deutsche Bank National Trust Company as Trustee for Indymac
                      Indx Mortgage Loan Trust 2006-AR19, Mortgage Pass-Through
                      Certificates Series 2006-AR19 to immediately proceed to foreclose its
                      security interest in the property described in Exhibit “A” annexed to this
                      Motion and otherwise pursue any remedies available under state law to
                      recover and liquidate its collateral;
               2.     That waives the effect of Bankruptcy Rule 4001 (a)(3); and
               3.     Provides for such other and further relief as the Court deems just and
                      proper.

        This, the 31st day of January 2019.

                                               /s/ Travis Menk
                                               Travis Menk, # 10686
                                               Brock and Scott, PLLC
                                               8757 Red Oak Blvd., Suite 150
                                               Charlotte, NC 28217
                                               Phone: Ph: 704-369-0676
                                               scbkr@brockandscott.com
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                             CHARLESTON DIVISION

                                        )
                                              CASE NO. 18-05991-dd
  IN RE:                                )
                                              CHAPTER 7
  GRETA LYNNE                           )
                      DEBTOR            )
                                              CERTIFICATION OF FACTS
                                        )
                                        )


        In the above-entitled case, in which relief is sought by Ocwen Loan Servicing, LLC as
        servicer for Deutsche Bank National Trust Company as Trustee for Indymac Indx
        Mortgage Loan Trust 2006-AR19, Mortgage Pass-Through Certificates Series 2006-
        AR19 from automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the best
        of my knowledge the following:

        1.     Nature of Movant’s Interest: Movant holds the first mortgage on property
               located at 27 Majestic Lane, Okatie, South Carolina 29909.

        2.    Brief Description of Security Agreement (copy attached): Mortgage

        3.     Description of Property Encumbered by Stay (Include serial number, lot and
               block number, etc.:
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          4.       Basis for Relief: Lack of adequate protection. §362(d)(1) and (2).

          5.       Prior Adjudication by Other Courts, copy attached (Decree of foreclosure,
                   Order for possession, Levy of execution, etc., if applicable: N/A

          6.       Valuation of Property, copy of Valuation attached:
                    Fair Market Value             $182,600.00
                    Senior Liens:                 $0.00
                    Movant’s Lien:                $340,922.36
                    Other Liens:
                                                  $18,399.03
                    Net Equity                    $0.00
                    Source/Basis of Value         Schedule

          7.       Amount of Debtor estimated equity (using figures from paragraph 6): $0.00

          8.       Month and Year in which first direct post-petition payment came due to Movant
                   (if applicable): N/A

          9.       (a) For Movant / Lienholder (if applicable): list or attach a list of all post-
                   petition payments received directly from debtor(s), clearly showing date
                   received, amount and month and year of which each such payment was
                   applied.1

                   (b) For Objecting party (if applicable): list or attach a list of all post-petition
                   payments included in the Movant’s list from (a) above which objecting party
                   disputes as having been made. Attach written proof of such payment(s) or a


  1
          This requirement may not be met by the attachment of a payment history generated by the Movant. Such
  attachment may be utilized as a supplement to a complete and detailed response to (9)(a) above, which should be
  shown on this certification.
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                statement as to why such proof is not available at the time of filing this
                objection.

         10.    Month and year for which post-petition account of Debtor(s) is due as of the
                date of this Motion: October 2018 (Contractually)
                See attached payment history.

  Dated: January 31, 2019
                                                 /s/ Travis Menk
                                                 Travis Menk, # 10686
                                                 Brock and Scott, PLLC
                                                 8757 Red Oak Blvd., Suite 150
                                                 Charlotte, NC 28217
                                                 Phone: Ph: 704-369-0676
                                                 scbkr@brockandscott.com
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

                                           )
  IN RE:                                   )
  GRETA LYNNE                              )     CASE NO. 18-05991-dd
                        DEBTOR             )     CHAPTER 7
                                           )
                                           )


                                 CERTIFICATE OF SERVICE

         The undersigned hereby certifies under penalty of perjury that he/she is over eighteen
  (18) years of age and that the MOTION FOR RELIEF FROM AUTOMATIC STAY, NOTICE
  OF MOTION, CERTIFICATION OF FACTS AND CERTIFICATE OF SERVICE in the
  above captioned case were this day served upon the below named persons by mailing, postage
  prepaid, first class mail a copy of such instrument to each person(s), parties, and/or counsel at
  the addresses shown below:

  Greta Lynne
  27 Majestic Lane
  Okatie, SC 29909

  Philip Fairbanks
  1214 King Street
  Beaufort, SC 29902

  Kevin Campbell
  P.O. Box 684
  Mount Pleasant, SC 29465


  This, the 31st day of January 2019.
                                                 Brock and Scott, PLLC

                                                 /s/ Travis Menk
                                                 Travis Menk, # 10686
                                                 Brock and Scott, PLLC
                                                 8757 Red Oak Blvd., Suite 150
                                                 Charlotte, NC 28217
                                                 Phone: Ph: 704-369-0676
                                                 scbkr@brockandscott.com
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Due Dt     Principal    Interest    P&I       Escrow Opt Ins Subsidy Fees/Exp     Payment   Total Due
 10/1/2018     926.88    1,528.01    2,454.89    0.00       0    0.00       36.00 2,454.89    2,490.89
 11/1/2018     931.13    1,523.76    2,454.89    0.00       0    0.00         0.00 2,454.89   4,945.78
 12/1/2018     935.39    1,519.50    2,454.89    0.00       0    0.00         0.00 2,454.89   7,400.67
  1/1/2019     939.68    1,515.21    2,454.89    0.00       0    0.00         0.00 2,454.89   9,855.56


                                                                     Payment due   9,819.56
